Case 1:04-cv-01303-.]DT-STA Document 15 Filed 08/08/05 Page 1 of 3 Page|D 14

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IN THE UNITEI) sTATEs I)ISTRICT CoURT 5 _ § “‘P);
FoR THE WESTERN DISTRICT oF TENNESSEE 400 "-\
WESTERN DIvIsIoN ,__ `¢s> \O
WILLIAM BELCHIA, ) C~'“é§ga,¢ '°é' 'Q
) aj “'/'~,1:;»?' 0
Plainriff, ) Q“"Jz`f;}“'i*`/>?-»WH;
) '“"i’»;?’£y`
vs. ) No.= 1:04-1303 T/An “@7*' f
)
CoRRECTIoNS CoRPoRATIoN }
OF AMERICA, et al. )
)
Defen dants. )

 

ORDER GRANTING DEFENDANTS’ MOTION AND MEMORANDUM FOR
EXTENSION OF TIME TO RESPOND TO PLAINTIFF’S COMPLAINT

 

Upon Motion of the Defendants, Corrections Corporation of America and Patsy Clark, to
extend time to file a responsive pleading, statements of counsel for these Defendants, and the entire
record, it isJ

HEREBY ORDERED, ADJUDGED AND DECREED that the Defendants are granted an
extension of time up to and including August 15, 2005 to serve a responsive pleading

DATED: Tliis the OXBday of /iju'}‘ ,2005.

<g’F/Y)"Mm@:» wm'

J`UDGE

This document entered on the docket sheet In compliance
with Rule 58 and,-'or,?Q (a) FRGP on

Case 1:04-cv-01303-.]DT-STA Document 15 Filed 08/08/05 Page 2 of 3 Page|D 15

APPROVED FOR ENTRY

PENTECOST, GLENN & RUDD, PLLC

</Ham@.%f>

Har'nes l. Pemecost #11640
Brandon O. Gibson #21485
Attomeys for Defendants
106 Stonebridge Blvd
Jackson, Tennessee 38305
(731) 668-5995

CERTIFICATE OF SERVICE

This is to certify that l have served a copy of this pleading or paper personally or by mail upon
each attorney or firm of attorneys appearing of record for each adverse party or each pro se party on or
before the filing date thereof

DATED: This the H`W\day ofJuly, 2005.

PENTECOST, GLENN & RUDD, PLLC

Ma-/

RANDON O. G[BSON
Attorney for Defendants

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case l:04-CV-01303 vvas distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed

 

 

William Belchia

Whiteville Correctional Facility
l 52705

P. O. BoX 679

Whiteville, TN 38075

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Honorable .l ames Todd
US DISTRICT COURT

